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UNITED STATES DISTRICT COURT aaa ~3 as 5= 20

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WESTERN nistrict of TENNé§-s*iiit",

 

United States of America
ORDER SETTING CONDITIONS

 

V. OF RELEASE
DAVID TATE Case Number: 2:04cr20476-D
Defenclant

I’l` IS ORDERED that the release of the defendant is subject to the following conditions:

(l) The defendant shall not commit any offense in violation of federal, state or local law while on release in this case.

(2) The defendant shall immediately advise the court, defense counsel and the U.S. attorney in Writing before any change in
address and telephone number.

(3) The defendant shall appear at all proceedings as required and shall surrender for service of any sentence imposed as

Courtroom 3, 9"‘ floor, Federal Building,
Place

directed The defendant shall appear at (ifblank, to be notified)

on ,-Thursdav, Mav 19, 2005 319=00 AM

Report Date
Date and Time

Release on Personal Recognizance or Unsecured Bond

IT IS FURTHER ORDERED that the defendant be released provided that:

( \/ ) (4) The defendant promises to appear at all proceedings as required and to surrender for service of any sentence imposed.

( )(5) The defendant executes an unsecured bond binding the defendant to pay the United States the sum of
dollars ($ )

in the event of a failure to appear as required or to surrender as directed for service of any sentence imposed

DISTRIBUTION: COURT DEFENDANT PRF:'I`RIAL SERVlCES U.S. ATTORNEY U.S. MARSHAI,

Thls document entered on the docket sheet in compliar:.;-<»
with sure ss ana/or 32(b) Fach on 5 ' ~05 Q£

%\AO 1993 (Rev. 5/99) Additional Conditions ofRelease

     
  

:Additional Conditions of Release

 

Uponi finding that release by one of the above methods will not by itself reasonably assure the appearance of the defendant and the safety of other persons and the
community
lT IS FURTHER ORDERED that the release of the defendant is subject to the conditions marked below:
( ) (6) The defendant is placed in thc custody of:
(Narne of person or organization)
(Address)
(City and state) (Tel. No.)
who agrees (a) to supervise the defendant in accordance with all the conditions of release, (b) to use every effort to assure the appearance of the defendant at all scheduled court
proceedings, and (c) to notify the court immediately in the event the defendant violates any conditions of release or disappears.

 

 

 

 

 

Signed:
Custodian or Proxy Date
( x ) (7) The defendant shall:
(x ) (a) report to the Pretrial Services Ofl'ice ,
telephonenumber 901-544- 1550 not later than _pon release

 

( x ) (b) execute a bond or an agreement to forfeit upon failing to appear as required the following sum of money or designated property:
$25, 000 with 10% cash payable to the Clerk of Court
( } (c) post with the court the following indicia of ownership ofthe above-described property, or the following amount or percentage of the above-described

 

(d) execute a bail bond with solvent sureties in the amount of $

 

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{ x ) (e) maintain or actively seek employment

( ) (f) maintain or commence an education program

( x ) (g) surrender any passport to: The Court Clerk’s Ofi`icc

( ) (h) obtain no passport

( x ) (i) abide by the following restrictions on personal association, place of abode, or travel:

Travel restricted to employment, doctor’s oftice, lawycr’s office and Court dates. Defcndant must reside with father, Jerry 'l`ate.

( x ) (j) avoid all contact, directly or indirectly, with any persons who are or who may become a victim or potential witness in the subject investigation or
prosecution, including but not limited to: The defendant may not have contact of any kind with any co-defendants. The defendant may not go
anywhere near .]erry Lawler, that includes seeing Jerry Lawler perform.

(x ) (k) undergo medical or psychiatric treatment and/or remain in an institution as foilows: The defendant shall participate in Mental Hcalth counseling

 

two (2) times a mcnth.

 

( ) (l) retum to custody each (week) day as of o’clock after being released each (Week) day as of o’clock for employment,
schooling, or the following limited purpose(s):

 

( ) (m) maintain residence ata halfway house or community corrections center, as deemed necessary by the pretrial services office or supervising ofticer.

( x ) (n) refrain from possessing a firearm, destructive device, or other dangerous weapons.

(x } (o) refrain from (x }any ( ) excessive use of alcohoi.

(x ) (p) refrain from use or unlawful possession ofa narcotic drug or other controlled substances defined in 21 U.S.C. § 802, unless prescribed by a licensed medical
practitioncr.

( x ) (q) submit to any method of testing required by the pretrial services office or the supervising officer for determining whether the defendant is using a prohibited
substance Such methods maybe used with random frequency and include urine testing, the wearing ofa sweat patch, a remote alcohol testing system, and/or
any form of prohibited substance screening or testing

( x ) (r) participate in a program of inpatient or outpatient substance abuse therapy and counseling if deemed advisable by the pretrial services office or supervising
officcr.

( x ) (s) refrain from obstructing or attempting to obstruct or tamper, in any fashion, with the efficiency and accuracy of any prohibited substance testing or electronic
monitoring which is (are) required as a condition(s) of release

( x ) (t) participate in one of the following home confinement program components and abide by all the requirements of the program which ( x ) will or
( ) will not include electronic monitoring or other location verification system. You shall pay all or part of the cost ofthe program based upon your ability
to pay as determined by the pretrial services office or supervising ofticer.

(x ) (i) Cu rfew. You are restricted to your residence every day ( ) from to , or ( x )as directed by the pretrial
services office or supervising officer; or

( ) (ii) Home [)etention. You are restricted to your residence at all times except for employment; education; religious services', medical, substance abuse,
or mental health treatment; attorney vi sits', court appearances; court-ordered obligations; or other activities as pre-approved by the pretrial services
office or supervising officer; or

( ) (iii) Homc Incarceration. You are restricted to your residence at all times except for medical needs or treatment, religious serviccs, and court
appearances pre-approved by the pretrial services office or supervising officer.

( x ) (u) report as soon as possiblc, to the pretrial services office or supervising officer any contact with any law enforcement personnel, including, but not limited
to, any arrest, questioning, or traffic stop.

(x ) (v) Jerry Tate (fathcr) shall serve as an additional Court Monitor as to thc defendant., Davicl Tatc

 

 

( )(W)

 

 

( )(X)

 

 

DlSTR|BUTlON: COURT DEFENDANT PRETRIAI- SER.VICES U.S_ ATTORNEY U.S. MARSHAL

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Advice of Penalties and Sanctions

TO THE DEFENDANT:
YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

A violation of any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a
revocation of release, an order of detention, and a prosecution for contempt of court and could result in a term of imprisonment, a fine,
or both.

The commission of a `_Federal offense while on pretrial release will result in an additional sentence of a term of imprisonment
of n ot more than ten years, if the offense is a felony; or a term of imprisonment of not more than one year, if the offense is a
misdemeanor This sentence shall be in addition to any other sentencel

F ederal law makes it a crime punishable by up to 10 years of imprisonment and a $250,000 fine or both to obstruct a criminal
investigationl It is a crime punishable by up to ten years of imprisonment and a 3250,000 fine or both to tamper with a witness, victim
or informant; to retaliate or attempt to retaliate against a witness, victim or informant; or to intimidate or attempt to intimidate a witness,
victim, juror, informant, or officer of the court. The penalties for tampering, retaliation, or intimidation are significantly more serious
if they involve a killing or attempted killing.

If after release, you knowingly fail to appear as required by the conditions of release, or to surrender for the service of sentence,
you may be prosecuted for failing to appear or surrender and additional punishment may be imposed If you are convicted of:

(l) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more1 you shall be fined

not more than $250,000 or imprisoned for not more than 10 years, or both;

(2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years, you shall be fined not

more than $250,000 or imprisoned for not more than five years, or both;

(3) any other feiony, you shall be fined not more than $250,000 or imprisoned not more than two years, or both;

(4) a misdemeanor, you shall be fined not more than $100,000 or imprisoned not more than one year, or both.

A term of imprisonment imposed for failure to appear or surrender shall be in addition to the sentence for any other offense. In
addition, a failure to appear or surrender may result in the forfeiture of any bond posted

Acknowledgment of Defendant

I acknowledge that lam the defendant in this case and that l am aware of the conditions of release I promise to obey all conditions
of release, to appear as directed, and to surrender for service of any sentence imposed l am aware of the penalties and sanctions set forth

above. AQBVJ M `

Signature of Defendant

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Address

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City and State Telephone

Directions to United States Marshal

( ) The defendant is ORDERED released after processing
( X ) The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk or judge that the defendant
has posted bond and/or complied with all other conditions for release The defendant shall be produced befor appropriate
judge at the time and place specified, if still in custody.

  
 
  

Date: Mav 3, 2005

  

Sign re of Judicial Officer

 

Judge Bernice B. Donald
Name and Title of Judicial Officer

DISTRIBUTION: COURT DEFENDANT PRETR]AL SERV]CE U.S. ATTORNEY U.S. MARSHAL

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 92 in
case 2:04-CR-20476 Was distributed by faX, mail, or direct printing on
May 6, 2005 to the parties listed.

ENNESSEE

 

Joseph C Murphy

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Ste. 800

Memphis7 TN 38103

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Honorable Bernice Donald
US DISTRICT COURT

